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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

WESTERN DIVISION
]OHN DOUGLAS STROUD PLAINTIFF
v. No. 4:17-cv-663-DPM
]ACOB LAW GROUP, PLLC
And MICHAEL A. ]ACOB, II DEFENDANTS
ORDER

Plaintiff'S motion t0 dismiss, NQ 4, granted. The Court

congratulates the parties On their Settlement.

SO Ordered.

/ /¢

D.P. Marshall ]r.
United States DiStrict ]udge

 

 

